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UNITED STA'I`ES ])ISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
DAVID BISHIOP,
Plaintiff,
v. Case No. 2:19~oV-02127
LG ELECTRONICS USA, INC., JURY DEMANDED

VGOD, INC., and
NEW AGE INVESTMENTS OF CORDOVA, LLC
d/b/a CREATE A CIG CORDOVA,

Defenclants .

 

ANSWER AND DEFENSES TO FIRST AMENDED COMPLAINT

 

Defendant New Age lnvestments of Cordova, LLC d/b/a Cl'eate a Cig Cordova
(“Defendant”), for its Answer and Defenses to Plaintist First Amended Cornplaint
(“Cornplaint”), states as follows:

PARTIES, JURISDICTION AND VENUE

1. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph l of the Complaint, and therefore those
allegations are denied.

2. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 2 of the Complaint, and therefore those

allegations are denied

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3. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 3 of the Complaint, and therefore those
allegations are denied

4. Paragraph 4 of the Cornplaint is a legal conclusion to which no response is
required To the extent a response is deemed required Defendant states that it lacks sufficient
information or knowledge to form a belief as to the truth of the allegations, and therefore those
allegations are denied

S. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the aliegations set forth in Paragraph 5 of the Complaint, and therefore those
allegations are denied

6. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 6 of the Cornplaint, and therefore those
allegations are denied

7 . Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 7 of the Cornplaint, and therefore those
allegations are denied

8. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 8 of the Complaint, and therefore those
allegations are denied

9. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 9 of the Cornplaint, and therefore those

allegations are denied

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19. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 10 of the Cornplaint, and therefore those
allegations are denied

11. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph ll of the Complaint, and therefore those
allegations are denied

12. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 12 of the Complaint, and therefore those
allegations are denied

13. Defendant states that the document referenced in Paragraph 13 of the Cornplaint
speaks for itself, and denies any allegations in Paragraph 13 of the Complaint inconsistent
therewith

14. Defendant states that the document referenced in Paragraph 14 of the Complaint
speaks for itself, and denies any allegations in Paragraph 14 of the Cornplaint inconsistent
therewith

15. Defendant states that the document referenced in Paragraph 15 of the Complaint
speaks for itself, and denies any allegations in Paragraph 15 of the Complaint inconsistent
therewith

16. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 16 of the Cornplaint, and therefore those

allegations are denied

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17. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 17 of the Cornplaint, and therefore those
allegations are denied

18. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 18 of the Complaint, and therefore those
allegations are denied

19. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 19 of the CornplaintJ and therefore those
allegations are denied

20. Defendant admits that it is an LLC formed under the laws of Tennessee, that its
principal place of business is at 465 N Germantown Parkway, Suite 108 in Cordova, TN 38018,
that it does business in Tennessee at Create A Cig Cordova, and that it may he served at 465 N.
Germantown Parkway, Ste. 108, Cordova, Tennessee 380l8. Defendant denies the remaining
allegations set forth in Paragraph 20.

21. Defendant admits the allegations set forth in Paragraph 2l of the Complaint.

22. Defendant admits it sells e-cigarette products in Tennessee. Defendant denies the
remaining allegations set forth in Paragraph 22.

23. Defendant admits it sells e-cigarette products in Tennessee. Defendant denies the
remaining allegations set forth in Paragraph 23.

24. Defendant admits it sells e~cigarette products in Tennessee. Defendant denies the
remaining allegations set forth in Paragraph 24.

25. Defendant denies the allegations set forth in Paragraph 25 of the Complaint.

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26. Paragraph 26 of the Complaint is a legal conclusion to which no response is
required The statutes referenced in Paragraph 26 of the Complaint also speak for themselves,
and Defendant denies any allegations in Paragraph 26 of the Complaint inconsistent therewith
By way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 26 of the
Complaint, and therefore those allegations are denied

27. Paragraph 27 of the Complaint is a legal conclusion to which no response is
required The statutes referenced in Paragraph 27 of the Complaint also speak for themselves,
and Defendant denies any allegations in Paragraph 27 of the Complaint inconsistent therewith
By way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 27 of the
Complaint, and therefore those allegations are denied

ALLEGA'I‘IONS APPLICABLE 'I`O ALL COUNTS

28. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 28 of the Complaint, and therefore those
allegations are denied

29. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 29 of the Complaint, and therefore those
allegations are denied

30. Defendant states that the document referenced in Paragraph 30 of the Complaint
speaks for itselfJ and denies any allegations in Paragraph 30 of the Complaint inconsistent

therewith Defendant further states that it lacks sufficient information or knowledge to form a

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belief as to the truth of the statements in the alleged document referenced in Paragraph 30 of the
Complaint, and therefore those allegations are denied

31. Defendant states that the document referenced in Paragraph 31 of the Complaint
speaks for itself, and denies any allegations in Paragraph 31 of the Complaint inconsistent
therewith Defendant further states that it lacks sufficient information or knowledge to form a
belief as to the truth of the statements in the alleged document referenced in Paragraph 31 of the
Complaint, and therefore those allegations are denied

32. Defendant states that the document referenced in Paragraph 32 of the Complaint
speaks for itself, and denies any allegations in Paragraph 32 of the Complaint inconsistent
therewith Defendant further states that it lacks sufficient information or knowledge to form a
belief as to the truth of the statements in the alleged document referenced in Paragraph 32 of the
Complaint, and therefore those allegations are denied

33. Defendant states that the document referenced in Paragraph 33 of the Complaint
speaks for itself, and denies any allegations in Paragraph 33 of the Complaint inconsistent
therewith Defendant further states that it lacks sufficient information or knowledge to form a
belief as to the truth of the statements in the alleged document referenced in Paragraph 33 of the
Complaint, and therefore those allegations are denied

34. Defendant states that the document referenced in Paragraph 34 of the Complaint
speaks for itself, and denies any allegations in Paragraph 34 of the Complaint inconsistent
therewith Defendant further states that it lacks sufficient information or knowledge to form a
belief as to the truth of the statements in the alleged document referenced in Paragraph 34 of the

Complaint, and therefore those allegations are denied

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35. Defendant states that the document referenced in Paragraph 35 of the Complaint
speaks for itself`, and denies any allegations in Paragraph 35 of the Complaint inconsistent
therewith Defendant further states that it lacks sufficient information or knowledge to form a
belief as to the truth of the statements in the alleged document referenced in Paragraph 35 of the
Complaint, and therefore those allegations are denied

36. Defendant states that the document referenced in Paragraph 36 of the Complaint
speaks for itself, and denies any allegations in Paragraph 36 of the Complaint inconsistent
therewith Defendant further states that it lacks sufficient information or knowledge to form a
belief as to the truth of the statements in the alleged document referenced in Paragraph 36 of the
Complaint, and therefore those allegations are denied

37. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 37 of the Complaint, and therefore those
allegations are denied

38. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 38 of the Complaint, and therefore those
allegations are denied

39. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 39 of the Complaint, and therefore those
allegations are denied

48. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 40 of the Complaint, and therefore those

allegations are denied

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41. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 41 of the Complaint, and therefore those
allegations are denied

42. Defendant states that the document referenced in Paragraph 42 of the Complaint
speaks for itself, and denies any allegations in Paragraph 42 of the Complaint inconsistent
therewith Defendant further states that it lacks sufficient information or knowledge to form a
belief as to the truth of the statements in the alleged document referenced in Paragraph 42 of the
Complaint, and therefore those allegations are denied

43. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 43 of the Complaint, and therefore those
allegations are denied

44. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 44 of the Complaint, and therefore those
allegations are denied

45. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 45 of the Complaint, and therefore those
allegations are denied

46. Defendant denies the allegations set forth in Paragraph 46 of the Complaint

47. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 47 of the Complaint, and therefore those

allegations are denied

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48. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 48 of the Complaint, and therefore those
allegations are denied

49. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 49 of the Complaint, and therefore those
allegations are denied

5{}. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 50 of the Complaint, and therefore those
allegations are denied

51. Defendant denies the allegations set forth in Paragraph 51 of the Complaint as
stated

52. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 52 of the Complaint, and therefore those
allegations are denied

53. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 53 of the Complaint, and therefore those
allegations are denied

54. Defendant denies the allegations set forth in Paragraph 54 of the Complaint as
stated

55. Paragraph 55 of the Complaint is a legal conclusion to which no response is
required The statute referenced in Paragraph 55 of the Complaint also speaks for itself, and
Defendant denies any allegations in Paragraph 55 of the Complaint inconsistent therewith By

way of further response, Defendant states that it lacks sufficient information or knowledge to

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form a belief as to the truth of the remaining allegations set forth in Paragraph 55 of the
Complaint, and therefore those allegations are denied

56. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 56 of the Complaint, and therefore those
allegations are denied

57. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 57 of the Complaint, and therefore those
allegations are denied

58. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 58 of the Complaint, and therefore those
allegations are denied

59. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 59 of the Complaint, and therefore those
allegations are denied

60. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 60 of the Complaint, and therefore those
allegations are denied

61. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 6l of the Complaint, and therefore those
allegations are denied

62. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 62 of the Complaint, and therefore those

allegations are denied

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63. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 63 of the Complaint, and therefore those
allegations are denied

64. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 64 of the Complaint, and therefore those
allegations are denied

COUNT I ~ STRICT LIABILITY

Defendant LG
The Subject Battery

65. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein

66. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 66 of the Complaint, and therefore those
allegations are denied

67. The statute referenced in Paragraph 67 of the Complaint also speaks for itself`, and
Defendant denies any allegations in Paragraph 67 of the Complaint inconsistent therewith By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 67 of the
Complaint, and therefore those allegations are denied

68. The statute referenced in Paragraph 68 of the Complaint speaks for itself, and
Defendant denies any allegations in Paragraph 68 of the Complaint inconsistent therewith By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 68 of the

Complaint, and therefore those allegations are denied

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69. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 69 of the Complaint, and therefore those
allegations are denied l

70. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 70 of the Complaint, and therefore those
allegations are denied

71. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 71 of the Complaint, and therefore those
allegations are denied

72. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 72 of the Complaint, and therefore those
allegations are denied

73. Paragraph 73 of the Complaint is a legal conclusion to which no response is
required The statute referenced in Paragraph 73 of the Complaint also speaks for itself, and
Defendant denies any allegations in Paragraph 73 of the Complaint inconsistent therewith By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 73 of the
Complaint, and therefore those allegations are denied

74. Paragraph 74 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required, Defendant states that it lacks sufficient information or knowledge to form a

belief as to the truth of those allegations, and therefore those allegations are denied

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75. Paragraph 75 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required ”i`o the extent a response is
deemed required, Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

76. Paragraph 76 of the Complaint is a legal conclusion to which no response is
required The statute referenced in Paragraph 76 of the Complaint speaks for itself, and
Defendant denies any allegations in Paragraph 76 of the Complaint inconsistent therewith By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 76 of the
Complaint, and therefore those allegations are denied

77. Paragraph 77 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required 'i`o the extent a response is
deemed required, Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

78. Paragraph 78 of the Complaint is a legal conclusion to which no response is
required Paragraph 78 of the Complaint also contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of the remaining allegations set forth in Paragraph 78 of the Complaint, and
therefore those allegations are denied

79. Paragraph 79 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is

deemed required Defendant denies the allegations as to Defendantl

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80. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 80 of the Complaint, and therefore those
allegations are denied

81. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 81 of the Complaint, and therefore those
allegations are denied

82. Paragraph 82 of the Complaint,contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of the allegations, and therefore those allegations are denied

COUNT II -- NEGLIGENCE

Defendant LG
The Subject Battery

83. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein.

84. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 84 of the Complaint, and therefore those
allegations are denied

85. The statute referenced in Paragraph 85 of the Complaint also speaks for itself, and
Defendant denies any allegations in Paragraph 85 of the Complaint inconsistent therewith By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 85 of the
Complaint, and therefore those allegations are denied

86. 'I`he statute referenced in Paragraph 86 of the Complaint also speaks for itself, and

Defendant denies any allegations in Paragraph 86 of the Complaint inconsistent therewith By

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way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 86 of the
Complaint, and therefore those allegations are denied

87 . Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph 87 of the Complaint, and therefore those allegations are
denied

88. Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph 88 of the Complaint, and therefore those allegations are
denied

89. Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph 89 of the Complaint, and therefore those allegations are
denied

90. Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph 90 of the Complaint, and therefore those allegations are
denied

91. Paragraph 91 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

92. Paragraph 92 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required, Defendant states that it lacks sufficient information to form a belief as to the

truth of the allegations, and therefore those allegations are denied

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93. Paragraph 93 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

94. Paragraph 94 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

95. Paragraph 95 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

96. Paragraph 96 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

97. Paragraph 97 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

98. Paragraph 98 of the Complaint contains allegations that are not directed toward

Defendant, and therefore no response from Defendant is required To the extent a response is

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deemed required Defendant states that it lacks sufheient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied
99. Paragraph 99 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to forrn a belief as to the
truth of the allegations, and therefore those allegations are denied
COUNT III - BREACH OF IMPLIED WARRANTY ()F MERCHANTABILITY

Defendant LG
The Subject Battery

100. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein.

101. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the remaining allegations set forth in Paragraph 101 of the Complaint, and
therefore those allegations are denied

102. The statute referenced in Paragraph 102 of the Complaint also speaks for itself,
and Defendant denies any allegations in Paragraph 102 of the Complaint inconsistent therewith
By way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 102 of the
Complaint, and therefore those allegations are denied

103. Paragraph 103 of the Complaint is a legal conclusion to which no response is
required Pa.ragraph 103 of the Complaint also contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required 'l`o the extent a response is
deemed required Defendant states that it lacks sufficient information to forrn a belief as to the

truth of the allegations, and therefore those allegations are denied

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104. The statute referenced in Paragraph 104 of the Complaint speaks for itself, and
Defendant denies any allegations in Paragraph l04 of the Complaint inconsistent therewith. By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 104 of the
Complaint, and therefore those allegations are denied

105. Paragraph 105 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to forrn a belief as to the
truth of the allegations, and therefore those allegations are denied

106. Paragraph 106 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

107 . Paragraph 107 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

108. Paragraph 108 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

109. Paragraph 109 of the Complaint contains allegations that are not directed toward

Defendant, and therefore no response from Defendant is required To the extent a response is

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deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

110. Paragraph ll0 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required 'l`o the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

111. Paragraph 111 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

C()UNT IV ~ VIOLA’I`ION OF TENNESSEE CONSUMER PROTECTION ACT

Defendant LG
The Subject Battery

112. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set foith fully herein.

113. Defendant states that the statutes referenced in Paragraph 113 speak for
themselves, and denies any allegations inconsistent therewith

114. Defendant states that the statute referenced in Paragraph ll4 speaks for itself, and
denies any allegations inconsistent therewith

115. Defendant states that the statute referenced in Paragraph 1l5 speaks for itself, and
denies any allegations inconsistent therewith

116. Paragraph 116 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required 'l`o the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the

truth of the allegations, and therefore those allegations are denied

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117. Paragraph 117 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

118. Paragraph 118 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

119. Paragraph 1l9 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

120. Paragraph 120 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

121. Paragraph l21 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

122. Paragraph 122 of the Complaint contains allegations that are not directed toward

Defendant, and therefore no response from Defendant is required To the extent a response is

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deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied
COUNT V - STRICT LIABILITY

Defendant VGOD, Inc.
The Subject E-Cigarette

123. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein.

124. Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph l24 of the Complaint, and therefore those allegations are
denied

125. Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph 125 of the Complaint, and therefore those allegations are
denied

126. Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph 126 of the Complaint, and therefore those allegations are
denied

127. Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph 127 of the Complaint, and therefore those allegations are
denied

128. Paragraph l28 of the Complaint is a legal conclusion to which no response is
required The statute referenced in Paragraph 128 of the Complaint also speaks for itself, and
Defendant denies any allegations in Paragraph 128 of the Complaint inconsistent therewith By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 128 of the

Complaint, and therefore those allegations are denied

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129. Paragraph 129 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

130. Paragraph 130 of the Complaint also contains allegations that are not directed
toward Defendant, and therefore no response from Defendant is required To the extent a
response is deemed required Defendant states that it lacks sufficient information to form a belief
as to the truth of the allegations, and therefore those allegations are denied

131. Paragraph 131 of the Complaint is a legal conclusion to which no response is
required The statute referenced in Paragraph 131 of the Complaint speaks for itself, and
Defendant denies any allegations in Paragraph 131 of the Complaint inconsistent therewith By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 131 of the
Complaint, and therefore those allegations are denied

132. Paragraph 132 of the Complaint is a legal conclusion to which no response is
required Paragraph 132 of the Complaint also contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

133. Paragraph 133 of the Complaint is a legal conclusion to which no response is
required To the extent a response is deemed required Defendant states that it lacks sufficient
information to form a belief as to the truth of the allegations, and therefore those allegations are

denied

122..

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134. Paragraph 134 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the aliegations, and therefore those allegations are denied

135. Paragraph 135 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the aliegations, and therefore those allegations are denied

136. Paragraph 136 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

137. Paragraph 137 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response front Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

COUN’I` VI ~»- NEGLIGENCE

Defendant VGOD, Inc.
The Subject E-Cigarette

 

138. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein

139. Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph 139 of the Complaint, and therefore those allegations are

denied

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140. Defendant states that it lacks sufficient information to form a betief as to the truth
of the allegations set forth in Paragraph 140 of the Complaint, and therefore those allegations are
denied

141. Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph 141 of the Complaint, and therefore those allegations are
denied

142. Defendant states that it lacks sufficient information to form a belief as to the truth
of the allegations set forth in Paragraph 142 of the Complaint, and therefore those allegations are
denied

143. Paragraph 143 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

144. Paragraph 144 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

145. Paragraph 145 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacl<s sufficient information to form a belief as to the

truth of the allegations, and therefore those allegations are denied

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146. Paragraph l46 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response ii?om Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

147. Paragraph 147 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

148. Paragraph 148 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

149. Paragraph 149 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacl<s sufficient information to form a belief as to the
truth of the ailegations, and therefore those allegations are denied

150. Paragraph 150 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the

truth of the allegations, and therefore those allegations are denied

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COUNT VII - BREACH OF IMPLIED WARRAN’I‘Y OF MERCHANT ABILITY
Defendant VGOD, Inc.
'I`he Subject E-Cigarette

151. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein.

152. The statute referenced in Paragraph 152 of the Complaint speaks for itself, and
Defendant denies any allegations in Paragraph 152 of the Complaint inconsistent therewith By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 152 of the
Complaint, and therefore those allegations are denied

153. Paragraph 153 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks suf§cient information to fomi a belief as to the
truth of the allegations, and therefore those allegations are denied

154. Paragraph 154 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information or knowledge to form a
belief as to the truth of those allegations, and therefore those allegations are denied

155. Paragraph 155 of the Complaint also contains allegations that are not directed
toward Defendant, and therefore no response from Defendant is required To the extent a
response is deemed required Defendant states that it lacks sufficient information to form a belief
as to the truth of the allegations, and therefore those allegations are denied

156. Paragraph 156 of the Complaint contains allegations that are not directed toward

Defendant, and therefore no response from Defendant is required To the extent a response is

 

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deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

157 . Paragraph 157 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

158. Paragraph 15 8 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response fi‘om Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

159. Paragraph 159 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

COUNT VIII - VIOLA'I`ION 0]3‘ TENNESSEE CONSUMER PR{)TECTION ACT

Defendant VGOD, Inc.
The Subject E~Cigarette

160. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein

161. The statute referenced in Paragraph 161 of the Complaint speaks for itself, and
Defendant denies any allegations in Paragraph 161 of the Complaint inconsistent therewith

162. The statute referenced in Paragraph 162 of the Complaint speaks for itself, and

Defendant denies any allegations in Paragraph 162 of the Complaint inconsistent therewith

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163. Paragraph 163 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

164. Paragraph 164 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required 'I`o the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

165. Paragraph 165 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

166. Paragraph 166 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

167. Paragraph 167 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied

168. Paragraph 168 of the Complaint contains allegations that are not directed toward

Defendant, and therefore no response from Defendant is required To the extent a response is

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deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied
169. Paragraph 169 of the Complaint contains allegations that are not directed toward
Defendant, and therefore no response from Defendant is required To the extent a response is
deemed required Defendant states that it lacks sufficient information to form a belief as to the
truth of the allegations, and therefore those allegations are denied
C()UNT IX - STRICT LIABILITY

Defendant Create A Cig Cordova
The Subject Battery

170. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein.

171. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 171 of the Complaint, and therefore those
allegations are denied

172. The statute referenced in Paragraph 172 of the Complaint speaks for itself, and
Defendant denies any allegations in Paragraph 172 of the Complaint inconsistent therewith By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 172 of the
Complaint, and therefore those allegations are denied

173. Defendant denies the allegations set forth in Paragraph 173 of the Complaintl

174. Defendant denies the allegations set forth in Paragraph 174 of the Complaint

175. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 175 of the Complaint, and therefore those

allegations are denied

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176. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 176 of the Complaint, and therefore those
allegations are denied

177. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 177 of the Complaint, and therefore those
allegations are denied

178. Defendant states that it lacks sufficient information or knowledge to forrn a belief
as to the truth of the allegations set forth in Paragraph 178 of the Complaint, and therefore those
allegations are denied

179. Defendant denies the allegations set forth in Paragraph l79 of the Complaint

18(). Defendant denies the allegations set forth in Paragraph l80 of the Complaint

181. Defendant denies the allegations set forth in Paragraph l81 of the Complaint

182. Paragraph 182 of the Complaint is a legal conclusion to which no response is
required The statute referenced in Paragraph 182 of the Cornplaint speaks for itself, and
Defendant denies any allegations in Paragraph 182 of the Complaint inconsistent therewith By
way of lhrther response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 182 of the
Complaint, and therefore those allegations are denied

183. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 183 of the Complaint, and therefore those

allegations are denied

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184. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 184 of the Complaint, and therefore those
allegations are denied

185. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph l85 of the Complaint, and therefore those
allegations are denied

186. Defendant states that it lacks sufficient information or knowledge to forrn a belief
as to the truth of the allegations set forth in Paragraph 186 of the Cornplaint, and therefore those
allegations are denied

187. Defendant states that it lacks sufficient information or knowledge to forrn a belief
as to the truth of the allegations set forth in Paragraph l87 of the Complaint, and therefore those
allegations are denied

188. Defendant denies the allegations set forth in Paragraph 188 of the Complaint

COUNT X - NEGLIGENCE

Defendant Create A Cig Cordova
The Subject Battery

189. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein.

190. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 190 of the Complaint, and therefore those
allegations are denied

191. The statute referenced in Paragraph 191 of the Complaint speaks for itself, and
Defendant denies any allegations in Paragraph 191 of the Complaint inconsistent therewith By

way of further response, Defendant states that it lacks sufficient information or knowledge to

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form a belief as to the truth of the remaining allegations set forth in Paragraph 191 of the
Complaint, and therefore those allegations are denied

l92.. Defendant denies the allegations set forth in Paragraph 192 of the Complaint

193. Defendant denies the allegations set forth in Paragraph 193 of the Complaint

194. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 194 of the Complaint, and therefore those
allegations are denied

195. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 195 of the Complaint, and therefore those
allegations are denied v

196. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 196 of the Complaint, and therefore those
allegations are denied

197 . Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 197 of the Complaint, and therefore those
allegations are denied

198. Paragraph 198 of the Complaint is a legal conclusion to which no response is
required To the extent a response is deemed required those allegations are denied

199. Defendant denies the allegations set forth in Paragraph 199 of the Complaint

200. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 200 of the Complaint, and therefore those
allegations are denied

201. Defendant denies the allegations set forth in Paragraph 201 of the Complaint

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202. Defendant denies the allegations set forth in Paragraph 202 of the Complaint

203. Defendant denies the allegations set forth in Paragraph 203 of the Complaint

204. Defendant denies the allegations set forth in Paragraph 204 of the Complaint

205. Defendant denies the allegations set forth in Paragraph 205 of the Complaint

COUNT XI »~» BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
Defendant Create A Cig Cordova
The Subject Battery and The Subject E-Cigarette

206. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein

297. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 207 of the Complaint, and therefore those
allegations are denied

208. The statute referenced in Paragraph 208 of the Complaint speaks for itself, and
Defendant denies any allegations in Paragraph 208 of the Complaint inconsistent therewith By
way of further response, Defendant states that it lacks sufficient information or knowledge to
form a belief as to the truth of the remaining allegations set forth in Paragraph 208 of the
Complaint, and therefore those allegations are denied

209. Defendant denies the allegations set forth in Paragraph 209 of the Complaint

210. Defendant denies the allegations set forth in Paragraph 210 of the Complaint

211. Paragraph 2l1 of the Complaint is a legal conclusion to which no response is
required 'l`o the extent a response is deemed required, those allegations are denied as stated

212. Paragraph 212 of the Complaint is a legal conclusion to which no response is

required To the extent a response is deemed required those allegations are denied as stated

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213. Defendant states that it lacks sufficient information or knowledge to form a belief
as to the truth of the allegations set forth in Paragraph 213 of the Complaint, and therefore those
allegations are denied

214. Paragraph 214 of the Complaint is a legal conclusion to which no response is
required To the extent a response is deemed required those allegations are denied as stated

215. Paragraph 215 of the Complaint is a legal conclusion to which no response is
required 'l`o the extent a response is deemed required Defendant denies the allegations set forth
in Paragraph 215 of the Complaint

216. Paragraph 2l6 of the Complaint is a legal conclusion to which no response is
required To the extent a response is deemed required Defendant denies the allegations set forth
in Paragraph 216 of the Complaint

217. Defendant denies the allegations set forth in Paragraph 217 of the Complaintl

218. Defendant denies the allegations set forth in Paragraph 218 of the Complaintl

COUNT XII - VIOLATION OF TENNESSEE CONSUMER PROTECTION ACT

Defendant Create A Cig Cordova
The Subject Battery and The Subject E-Cigarette

219. Defendant hereby incorporates its previous responses to the foregoing paragraphs
of the Complaint as if set forth fully herein

220. Defendant states that the statutes referenced in l’aragraph 220 speak for
themselves, and denies any allegations inconsistent therewith

221. Defendant states that the statute referenced in Paragraph 221 speaks for itself, and
denies any allegations inconsistent therewith

222. Defendant states that the statutes referenced in Paragraph 222 speak for

themselves, and denies any allegations inconsistent therewith

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223. Paragraph 223 of the Complaint is a legal conclusion to which no response is
required To the extent a response is deemed required Defendant denies the allegations set forth
in Paragraph 223 of the Complaint

224. Paragraph 224 of the Complaint is a legal conclusion to which no response is
required To the extent a response is deemed required Defendant denies the allegations set forth
in Paragraph 224 of the Complaint

225. Defendant denies the allegations set forth in Paragraph 225 of the Complaint

226. Defendant denies the allegations set forth in Paragraph 226 of the Complaint

227 . Defendant denies the allegations set forth in Paragraph 227 of the Complaint

228. Defendant denies the allegations set forth in Paragraph 228 of the Complaint

229. Defendant denies the allegations set forth in Paragraph 229 of the Complaint

230. Defendant denies that Plaintiff is entitled to any relief requested in the paragraph
following Paragraph 229 of the Complaint
231. Defendant denies any allegation contained the Complaint that is not specifically
admitted by Defendant
ADDITIONAL DEFENSES

Discovery and investigation may reveal that any one or more of the following defenses
should be available to Defendant in this matter Defendant therefore asserts said defenses in
order to preserve the right to assert them. Upon completion of discovery, and if the facts
warrant, Defendant may withdraw any of these defenses as may be appropriate Further,
Defendant reserves the right to amend its Answer to assert additional defenses, cross~claims,
eounterclaims, and other claims and defenses as discovery proceeds Further answering and by

way of additional defense, Defendant states as follows:

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Flns’r DEFENSE

Defendant states that Plaintiff has failed to state a claim upon which relief can be granted

as to this Defendant

SECoND ])EFENsn

Defendant affirmatively pleads all protection afforded to Defendant as a Seller pursuant
to Tennessee Code Annotated § 29~28~l06, including but not limited to the protections afforded
to Defendant pursuant to Tennessee Code Annotated § 29-28~106(4). Defendant asserts that it
purchased any and all vaporizers and/or batteries from entities that are subject to service of
process through the l`ennessee Long Arm Statute. Specifically, Defendant purchased any and all
batteries at issue from Vapor Beast, LLC or LA Vapor, lnc. and purchased any and all vaporizers
at issue from LA Vapor, Inc. Additionally, Plaintiff has asserted claims in the Complaint against

the entities that manufactured the subject vaporizer and battery

THIRD DEFENSE
Defendant affirmatively pleads the right to all other defenses and rights set forth in the
l`ennessee Products Liability Act, including Tennessee Code Annotated § 29~28~101 through
29-28-108, inclusivel Further Defendant alleges that the provisions of the Tennessee Consumer
Protection Act, lenn. Code Ann. 47~18~101, et seq., do not apply to the claims asserted by
Plaintiff, as all claims asserted by Plaintiff constitute a “product liability action” as defined by
Tenn. Code Ann. 29-28~102 (6), and accordingly, the limitations applicable to “product liability

actions” stated in Tenn. Code Ann. 29-28-l06 apply to the Plaintiff’ s claims

FOURTH DEFENSE

Defendant did not design or manufacture the subject device or battery.

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FIFTH DEFENSE

Defendant did not act negligently or wantonly

SIXTH DEFENSE

Defendant denies that it either owed or breached any duty to Plaintiffs.

SEVENTH DEFstE
Plaintiff` s claims are barred in whole or in part by the applicable statute of limitations

and/or statute of repose.

EIGHTH DEFENSE

Plaintiff’s claims are barred due to Plaintiff’s own actions, failure to act, negligence

and/or legal fault.

NIN'rn DEFENSE

Plaintiff’s claims are barred by virtue of his assumption of the risks or conditions

TENTH DEFENSE
Plaintiff failed to mitigate or otherwise act to lessen or reduce the injuries and damages

alleged in the Complaint

ELEvnNTH DEFENSE
Plaintiff s claims are barred by the doctrines of unclean hands, waiver, acquiescence,

estoppel, laches, and/or ratification

TWELFTH DEFENSE
Plaintiffs alleged damages were not caused by any acts or omissions of Defendant, its

agents, representatives or employees

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THIRTEENTH DEFENSE
The damages alleged in the Complaint were not caused by any alleged negligence of
Defendant, but Were the result of intervening and/or supervening causes and the actions of third

parties

FOURTEENTH DEFENSE
Plaintiff s claims are barred by the absence of any causal connection, proximate or cause

in fact, between any act of Defendant and PlaintifF s alleged injuries or damagesl

FIFTEE.NTH DEFENSE
Plaintiff’ s claims are barred as Plaintiff’s alleged injuries and damages are the proximate
result of the acts and omissions of persons other than Defendant and for whom Defendant is not

responsible

SIXTEENTH DEFENSE
Defendant avers that the alleged injuries and damages of Plaintiff, if any, which are
strictly denied, resulted from unrelated, pre-existing, or subsequent conditions unrelated to

Defendant’s conduct and for which Defendant is not liable

SEVENTEENTH DEFENSE
lt Plaintiff has suffered damages as a result of any alleged conduct by Defendant, the
degree of such damages attributable to such conduct is negligible, and a de minimus factor, in

determining any alleged damages suffered by Plaintiff.

EIGHTEENTH DEFENSE
Any liability that might otherwise be imposed upon Defendant is subject to reduction by

the application of the doctrine of comparative fault pursuant to Tennessee case law and Tenn.

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Code Ann. 29-ll~107. Plaintiff has alleged that various persons and entities other than
Defendant are at fault for Plaintiff’s alleged injuries ln light of these allegations, while
Defendant expressly denies any liability to Plaintiff, Defendant is constrained to plead,
alternatively, that if the Plaintiff’s allegations are proven to be true against any of the other
defendants, and/or if the Plaintiff or any non-parties are found to be at fault, then the doctrine of
comparative fault applies to such fault of the other parties and non»parties.
NINETEENTH DEFENSE
Defendant denies that Plaintiff is entitled to damages of the nature, type or amount sought

in the Complaint

TWENTIETH DEFENSE
Plaintiff has failed to join necessary or indispensable parties, including but not limited to,

the entities identified in Defendant’s “Second Defense.”

TWENTY~FIRST DEFENSE
Plaintiff’ s claims are barred because Defendant did not violate any applicable laws,

regulations, ordinances, codes or industry standards

TWENTY-SECONI) DEFENSE
Plaintiff has not sustained an ascertainable loss of property or money caused by the acts
or omissions of Defendant, as required by the Tennessee Consumer Protection Act, Tenn. Code

Ann. 47-l8~101, et seq.

TwENTY-THIR:) DEFENSE
Plaintiff has not suffered any actual injury or damages caused by the acts or omissions of

Defendant

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TWENTY-FOURTH DEFENSE
Plaintiff has not suffered a compensable injury caused by the acts or omissions of

Defendant

TWENTY~FIFTH DEFENSE
Plaintifi’ s claims are barred by the doctrine of res judicata or the “entire controversy

doctrine.”

TWENTY-SIXTH DEFENSE

Plaintiff’ s claims, in Whole or in part, are subject to judicial estoppel

TWENTY~SEVENTH DEFENSE

Plaintiff‘ s claims are barred by virtue of the doctrine of necessity

TwENrY-EIGHTH DEFENSE
Plaintiff’s claims are barred by the doctrine of preemption, based on state and federal
law, including but not limited to Tenn. Code Ann. 29-28-l04 and the Federal Drug

Administration Regulations applicable to Electronic Nicotine Delivery Systems.

TWENTY-NINTH DEFENSE
Plaintiff’ s attorneys fees and expenses of litigation claim fails because it is derivative of

Plaintiff s other failed claims

THIRTIETH DEFENSE
Tlie Complaint fails to state a claim for punitive damages, and an award of punitive
damages in favor of Plaintiff would violate those clauses of the Constitution of the United States

related to privileges and immunities, excessive fines, double jeopardy, due process and equal

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protection Plaintift’s claim for punitive damages cannot be sustained because an award of
punitive damages under Tennessee law by a jury that is not instructed on the limits of punitive
damages imposed by the applicable principles of deterrence and punishment and is not instructed
to award only that amount of punitive damages as reflects a necessary relationship between the
amount of punitive damages and actual harm in question would violate this Defendants’ due
process and equal protection rights guaranteed by the Fourteenth Amendment to the United
States Constitution and by Article l, §§ 8, 17 of the Tennessee Constitution.

Plaintiff’ s claim for punitive damages cannot be sustained because an award of punitive
damages under Tennessee law by a jury that is not expressly prohibited from awarding punitive
damages, in whole or in part, on the basis of an invidiously discriminatory characteristic,
including but not limited to the Defendants’ corporate status, would violate the Defendant’s due
process and equal protection rights guaranteed by the Fourteenth Amendment to the United
States Constitution and by Article l, §§ 8, l7 of the Tennessee Constitution.

THIRTY-FIRST DEFENSE

If it is determined that any form of recovery has been made by way of judgment,
settlement, or otherwise, for all or any part of the alleged injuries or damages, Defendant claims
the benefit of such recovery by way of set-off, payment, credit, recoupment, accord and

satisfaction, or otherwise

THIRTY~SECOND DEFENSE
Defendant affirmatively pleads the right to all defenses available pursuant to Tenn. Code
Ann. 29-30-101 - 29-39~104, inclusive, known as the Tennessee Civil lustice Act of 2011,

including but not limited to, Tenn. Code Ann. 29-39-102, which places limits on awards in civil

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actions; Tenn. Code Ann. 29~39~103, which sets forth procedures and requirements for findings
of fact by the trier of fact; and Tenn. Code Ann. 29-39-i04, which sets forth procedures and

limits on claims for punitive damages

THIRTY- Tnnu) DEFENSE
Inasmuch as the Complaint does not describe the alleged underlying claims with
sufficient particularity to enable Defendant to determine all of its legal, contractual and equitable
rights, Defendant reserves the right to amend and/or supplement its Answer to assert any and all

applicable defenses ascertained through further investigation and discovery

WHEREFORE, Defendant prays that the Complaint and each and every count thereof be
dismissed with prejudice, that Plaintiff be denied any relief whatsoever, that Defendant be
granted judgment against Plaintiff as to each and every count of the Complaint and recover from
Plaintiff Defendant’s reasonable attorneys’ fees and expenses and all costs of this action, and that

this Court grant Defendants-such other and further relief as this Court deems just and proper.

lURY DEMAND

Defendant respectfully demands a trial by jury herein

Respectfully submitted,

/s/Albert G. l\/chean

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CERTIFICA'I`E OF SERVICE

This is to certify that on this day l caused a copy of the foregoing document to be
served on counsel of record by the Clerl< of Court using the CM/ECF system, including the
following counsel:

 

David W. Hill, Esq. David Brose, Esq.

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Counselfor Plairztijj”l)avz'd Bishop

this 28th day of February, 2019.

/s/ Albert G. l\/chean
Albert G. McLean

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